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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Civil Action No. 1:18-cv-751

NICHOLAS MCCARTNEY,

       Plaintiff,

v.

THE HANOVER INSURANCE COMPANY.

       Defendant.



                                          COMPLAINT


Comes now, Nicholas McCartney, by and through his attorneys, Franklin D Azar & Associates,

P.C., and submits the following for his Complaint:

                                 JURISDICTION AND VENUE

  1. Plaintiff is citizen and resident of the State of Colorado.


  2. Defendant, The Hanover Insurance Company (Hanover), is a New Hampshire
     corporation. Its principal place of business is 400 Lincoln Street, Worcester, MA 01653.

  3. The amount in controversy exceeds $75,000.

  4. This Court has jurisdiction pursuant to 28 U.S.C. § 1332.


                ALLEGATIONS REGARDING INSURANCE COVERAGE

  5. On January 12, 2017, Plaintiff operated a 2012 Ford E-350 owned by Ryder Truck Rental
     Inc. The Ryder truck was subject to a lease agreement with Plaintiff’s employer, Care and
     Share Inc.
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  6. Upon information and belief, the Ryder truck was insured under a policy held by Care and
     Share, through The Hanover Insurance Company.

  7. The applicable Hanover policy provides for uninsured/underinsured automobile coverage
     in the amount of $1,000,000 per person.

    FACTS PERTAINING TO THE JANUARY 12, 2017 AUTOMOBILE COLLISION


  8. Plaintiff was injured as a result of a motor vehicle collision which occurred in Colorado
     Springs, Colorado on January 12, 2017.

  9. At the time of the collision, the Hanover policy was in full force and effect.

  10. At the time of the collision, the Plaintiff was proceeding in a northbound direction on
      Southgate Road in Colorado Springs.

  11. At the time of the collision, Brandon Krumrine (Krumrine) was driving a 2012 F-250 in an
      southbound direction.

  12. Krumrine lost control going around a right hand curve and crossed into the southbound
      lane of traffic.

  13. Krumine’s vehicle collided with Plaintiff head on.

  14. Plaintiff saw Krumrine before impact and applied his brakes. Plaintiff’s vehicle was
      stopped at the time of the collision and the impact pushed the vehicle backwards and
      counterclockwise.

  15. The front end of both vehicles suffered severe damage.

  16. Krumrine was clearly at fault in causing the collision; Plaintiff had done nothing for which
      his driving could be faulted.

  17. Subsequent police investigation revealed that Krumrine has a blood alcohol content of .176
      (nearly twice the presumptive blood alcohol content to sustain a driving under the influence
      charge, .08).



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  18. Subsequent police investigation revealed that Krumrine had 20 nanograms per deciliter of
      Alprazolam, a Benzodiazepine.

  19. Plaintiff was taken from the scene of the collision by ambulance to Memorial Hospital.


  20. Plaintiff was diagnosed with a nondisplaced fracture of the left capitate bone. Plaintiff was
      diagnosed with fractures of his 3rd, 4th, 5th, 6th, and 7th left ribs. Plaintiff was diagnosed with
      a closed fracture of the distal end of the right fibula. Plaintiff suffered devastating and
      multiple fractures to his right foot, as well as a bruised lung.

  21. Plaintiff continued to receive treatment. To date, his medical expenses are approximately
      $67,882.91.

                                 THE KRUMINE SETTLEMENT

  22. At the time of the collision, Krumine was insured with Geico. His policy provided for
      bodily injury coverage in the amount up to $25,000 per person, $50,000 per occurrence.

  23. Plaintiff submitted a claim to Geico.

  24. On January 8, 2018, Geico agreed to pay the policy limits of $25,000 in order to settle
      Plaintiff’s claim against Krumine.

  FACTS PERTAINING TO THE UNDERINSURED MOTORIST COVERAGE CLAIM

  25. As previously noted, Plaintiff was operating a motor vehicle insured through a Hanover
      insurance policy that provided underinsured coverage for the January 12, 2017 collision.

  26. Shortly after the collision, Plaintiff notified Hanover of the collision and a claim was
      opened.

  27. During the ensuing months, medical records and bills were submitted to Hanover.

  28. On September 12, 2017, Plaintiff requested Hanover’s consent to settle his bodily injury
      claim against Krumine.




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  29. On December 13, 2017, Plaintiff made a specific request to Hanover for benefits under
      the policy.

  30. To date, Hanover has failed to respond, at all, to Plaintiff’s request.

  31. Hanover has not tendered a partial payment to date.

                   FIRST CLAIM FOR RELIEF BREACH OF CONTRACT
  32. Plaintiff re-alleges, as though re-stated in full, all of the allegations set for in paragraphs 1
      through 32 of this Complaint.

  33. The Hanover automobile policy provides for underinsured motorist coverage in order that
      its insured, injured victims of motor vehicle collisions are fully compensated in the event
      that the at-fault driver has insurance coverage which is not adequate to provide the
      injured victims full compensation.

  34. The true value of Plaintiff’s bodily injury claim far exceeds the limits of Krumine’s
      policy. By failing to pay Plaintiff fair compensation for his bodily injury claim, Hanover
      has breached its insurance contract.

  35. Pursuant to this breach of contract claim, Plaintiff seeks to recover the fair compensation
      for his underinsured motorist coverage, $1,000,000.

               SECOND CLAIM FOR RELIEF COMMON-LAW BAD FAITH


  36. Plaintiff re-alleges, as though re-stated in full, all of the allegations set forth in paragraphs
      1 through 36 of this Complaint.

  37. Hanover had an obligation to act in good faith with respect to Plaintiff’s claim for
      underinsured motorist coverage benefits.

  38. Hanover acted unreasonably in the handling Plaintiff’s UIM claim; this unreasonable
      conduct included but is not limited to the following:




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                    a. Favoring its own interests over those of the Plaintiff.
                    b. Not making a payment for undisputed UIM benefits which the Plaintiff
                       was entitled.
                    c. Not offering the Plaintiff an explanation to justify its unreasonably low
                       settlement offer.
                    d. Compelling the Plaintiff to institute litigation in order to recover
                       amounts legitimately due to him under the Hanover policy.

  39. Hanover knew that its’ conduct with respect to settling Plaintiff’s UIM claim was
      unreasonable or at least recklessly disregarded the fact that its’ conduct was
      unreasonable.

  40. The Hanover’s unreasonable conduct was the cause of the additional damages to the
      Plaintiff, including emotional distress and the loss of business opportunity with respect to
      investment of the UIM settlement proceeds.


  41. Plaintiff sustained injuries and damages as a result of Hanover’s unreasonable conduct
      including added emotional distress, added attorney fees and costs, and loss of investment
      opportunities.

  42. Hanover’s non-payment of Plaintiff’s legitimate UIM claim was attended by fraud and by
      willful and wanton disregard of Plaintiff’s rights.

            THIRD CLAIM FOR RELIEF FIRST PARTY STATUTORY CLAIM

  43. Plaintiff re alleges, as though re-stated in full, all of the allegations set forth in paragraphs
      1-47 of this Complaint.

  44. In accordance with C.R.S. 10-3-1115 and 1116, Hanover is liable for statutory damages
      since it unreasonably delayed/denied payment of a covered first party benefit which
      includes benefits under underinsured motorist coverage provisions of automobile
      insurance contracts.

  45. Hanover unreasonably delayed and denied payment of underinsured motorist coverage
      benefits to the Plaintiff.



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  46. Hanover’s delay and denial was without a reasonable basis.



        WHEREFORE, Plaintiff prays for the judgment against Defendant for the sum of
$750,000 on his breach of contract claim, for such additional damages under his common-law
bad faith as may be deemed reasonable and appropriate, for exemplary damages under the
common law bad faith claim, for treble damages, and for attorney fees under the statutory claim.
In addition, Plaintiff seeks interest, costs, and such other and further relief as this Court shall
deem proper under the circumstances.


       DATED this 30 day of March, 2018.


                                              FRANKLIN D. AZAR & ASSOCIATES, P.C.

                                              By: /s/ Patric J. LeHouillier
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